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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In Re:                                                       CHAPTER 13

ESSA ABDULLATIF AL-KADARI, XXX-XX-5443                       CASE NO. 13-15311 MER
Debtor,

Wells Fargo Bank, N.A., d/b/a Wells Fargo Dealer
Services,


Movant,

vs.

ESSA ABDULLATIF AL-KADARI, XXX-XX-5443
Debtor
Douglas B. Kiel, Chapter 13 Trustee,
Respondents.

                     LOCAL BANKRUPTCY FORM 4001-1.2
______________________________________________________________________________

       MOVANT'S CERTIFICATE OF NON-CONTESTED MATTER AND
                      REQUEST FOR ENTRY OF ORDER
______________________________________________________________________________


       On August 20, 2015, Wells Fargo Bank, N.A., dba Wells Fargo Dealer Services, filed a
motion pursuant to Local Bankruptcy Rule 4001-1 entitled Motion For Relief From Stay (Docket
No__31__). Movant hereby certifies and shows the court:

         1. Service of the notice and motion were timely made on all parties against whom
relief is sought pursuant to L.B.R. 4001-1(a), or in the manner permitted by an order of the
court, (Docket No. 31__), as is shown on the certificate of service previously filed with
the notice.

         2. A hearing on said motion was scheduled for September 9, 2015 at 9:30
A.M.

       3. No objections to or requests for hearing on the motion were received by the
undersigned or filed with the court or, if filed, were withdrawn.
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       WHEREFORE, Movant prays that the court forthwith enter an order, a form of
which was submitted to the Court with the Motion (Docket No._31__), granting the
requested relief.




Dated:    September 16, 2015


                                             /s/ Iman Tehrani
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                                             Iman Tehrani, #44076
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